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              Trump, Perkins Coie and John Adams
              The President breaks a bedrock legal principle by targeting the law firm
              for representing clients he doesn’t like.


              By The Editorial Board Follow
              Updated March 11, 2025 6:59 pm ET

              As he campaigned for a second term, Donald Trump often said his retribution
              against opponents would be “success.” But now that he’s back in power, it’s clear
              the President’s definition of success includes retribution.

              That’s the only way to read his extraordinary executive orders targeting big
              Washington law firms for federal punishment and investigation. Mr. Trump’s
              decision to use government power to punish firms for representing clients
              breaks a cornerstone principle of American justice going back to John Adams
              and the Founders.

              Mr. Trump’s first EO against Big Law hit Covington & Burling on Feb. 25. The
              order suspends the security clearances of firm employees “who assisted former
              Special Counsel Jack Smith.” It also takes steps to bar the firm from government
              contracts.

              That was mild compared to the hammer blow against Perkins Coie on March 6.
              That order strips security clearances from the firm’s employees, bars
              government contractors from retaining the firm, and even bars its lawyers from
              government buildings.

              The order also accuses Perkins Coie of racial discrimination and calls for a
              federal investigation of the firm by the Attorney General and the Equal
              Employment Opportunity Commission “in consultation with State Attorneys
              General.” Mr. Trump is targeting the firm with the full enforcement power of the

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             federal government. We can’t recall a similar White House order from any
             President.

             On Tuesday Perkins Coie sued the Administration, calling the order an illegal use
             of executive power that has already harmed the firm and its clients.

             Mr. Trump gives away his motive for this EO in Section I. Purpose: “In 2016 while
             representing failed Presidential candidate Hillary Clinton, Perkins Coie hired
             Fusion GPS, which then manufactured a false ‘dossier’ designed to steal an
             election.” That was the infamous Steele dossier that some in the press took
             seriously. The order adds that the firm “has worked with activist donors
             including George Soros to judicially overturn popular, necessary, and
             democratically enacted election laws,” including voter ID.

             Few wrote more often or critically than we did about Fusion GPS and the Steele
             dossier, and in real time when it was unpopular to do so. Perkins Coie has shown
             it’s a partisan firm, and its former partner Michael Sussmann was charged but
             acquitted of a crime related to the phony Russia collusion scandal. Its role in that
             episode was shameful.

             But Mr. Trump’s order is now targeting the law firm for representing clients Mr.
             Trump dislikes. He is trying to defenestrate Perkins Coie to intimidate elite law
             firms from representing his opponents or plaintiffs who challenge his policies.
             This violates a bedrock principle of American law, which is that even the worst
             clients deserve representation.

             Mr. Trump’s former Labor secretary, the appellate litigator Eugene Scalia, made
             the point well in a 2019 speech to the Federalist Society: “One of the great
             traditions of the legal profession is to respect the right to representation of
             those we disagree with, and even to undertake that representation ourselves.”

             Mr. Scalia cited John Adams’s famous defense of British soldiers charged with
             the Boston Massacre as “one of our most important stories about the practice of
             law.”

             As Mr. Scalia noted, it has typically been conservatives who have had a hard time
             getting representation from elite firms that fear political retribution from the
             left. Paul Clement, the premier Supreme Court litigator of our time, famously

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             resigned from King and Spalding after that firm dropped the U.S. House of
             Representatives as a client in connection with the Defense of Marriage Act.

             Some on the right will say that turnabout now is fair play, but it’s the opposite.
             It’s one more step toward making the legal system wholly political. Mr. Trump
             told voters he wouldn’t seek political retribution if he won. His attack on law
             firms violates that promise, and it won’t do him or the country any good.




             The law firm Perkins Coie in Washington. PHOTO: ANDREW KELLY/REUTERS

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